AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                  __________  DistrictofofMissouri
                                                                           __________

                       City of St. Louis                                )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                          Civil Action No. 4:23-cv-00987-SRC
                                                                        )
        CHS, TX, Inc., Lexington Insurance Co.,                         )
          and Great Midwest Insurance Co.
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Lexington Insurance Co.
                                           c/o Corporation Service Company (CSC)
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Erin McGowan,
                                       Room 314, City Hall
                                       1200 Market St.
                                       St. Louis, MO 63103
                                       Attorney for City of St. Louis


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
